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                 Case 9:21-cv-00692-DNH-TWD Document 51 Filed 07/22/22 Page 11 of 43

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                  Case 9:21-cv-00692-DNH-TWD Document 51 Filed 07/22/22 Page 13 of 43




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             Case 9:21-cv-00692-DNH-TWD Document 51 Filed 07/22/22 Page 14 of 43
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                    Case 9:21-cv-00692-DNH-TWD Document 51 Filed 07/22/22 Page 15 of 43
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